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PAR/2019R00193
fe 1 EP}
IN THE: UNITED'STATES DISTRICT COURT
- {FOR THE DISTRICT OF MARYLAND

UNITED STATES OF ‘A Abe uca f Piilé 10 CRIMINAL NO. DKC-(4-©2 8)

 

v. (Bank Robbery, 18 U.S.C.
§§ 2113(a), (f))
VICTOR DELMAR FOSSET
Defendant.
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INDICTMENT

COUNT ONE

(Bank Robbery)

The Grand Jury for the District of Maryland charges that:
On or about March 13, 2019, in the District of Maryland, the defendant,
| VICTOR DELMAR FOSSETT,
did by force, violence and intimidation, take and attempt to take from the person and presence of
an employee of M&T Bank, located at 329 Baltimore St., Baltimore, Maryland 21201, a bank, the
deposits of which were then insured by the Federal Deposit Insurance Corporation, $327.00
belonging to and in the care, custody, control, management and possession of said bank.

18 U.S.C. §8 2113(a) & (f)
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COUNT TWO
(Bank Robbery)
The Grand Jury for the District of Maryland further charges that:
On or about March 14, 2019, in the District of Maryland, the defendant,
VICTOR DELMAR FOSSETT,
did by force, violence and intimidation, take and attempt to take from the person and presence of
an employee of PNC Bank, located at 6245 Washington Blvd, Elkridge, Maryland 21075, a bank, —
the deposits of which were then insured by the Federal Deposit Insurance Corporation, $1898.00

belonging to and in the care, custody, control, management and possession of said bank.

18 ULS.C. §§ 2113(a) & (f)
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COUNT THREE
(Bank Robbery)
The Grand Jury for the District of Maryland further charges that:
On or about March 18, 2019, in the District of Maryland, the defendant,
VICTOR DELMAR FOSSETT,

did by force, violence and intimidation, take and attempt to take from the person and presence of
an employee of PNC Bank, located at 728 Frederick Road, Catonsville, Maryland 21228, a bank,
the deposits of which were then insured by the Federal Deposit Insurance Corporation, $6,548.00
belonging to and in the care, custody, control, management and possession of said bank.

18 U.S.C. §§ 2113(a) & (f)

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Robert K. Hur

United States attorney
A TRUE BILL
SIGNATURE REDACTED
Foreperson

Date: June g, 2019
